             Case 2:11-cr-00210-DAD Document 817 Filed 03/23/16 Page 1 of 1


 1   Vicki Marolt Buchanan.
     State Bar No. 153318
 2   19201 Sonoma Highway, No. 243
     Sonoma, California 92660
 3   Telephone: (707) 343-1907
     vickimaroltbuchananpc@gmail.com
 4
     Attorney for Defendant/Appellant
 5   NADIA KUZMENKO, aka NADIA REYES
 6
                                 UNITED STATES DISTRICT COURT
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8

 9                                                   Case No.: 2:11-CR-0210-JAM
     UNITED STATES OF AMERICA,
10                                                   ORDER CONTINUING HEARING
                    Plaintiff,
                                                     ON MOTION FOR
11                                                   RECONSIDERATION
            v.
12

13   NADIA KUZMENKO,
              Defendant
14

15

16
           FOR GOOD CAUSE APPEARING, it is hereby ordered that the stipulation
17
     between the plaintiff, United States of America, and defendant, Nadia Kuzmenko, that
18
     the hearing on defendant’s motion to reconsider this Court’s order directing repayment of
19
     court-appointed attorney fees set for April 12, 2016 be continued to April 19, 2016 at
20
     9:15 a.m.
21
           The response and reply times in this Court’s minute order (Doc. 811) remain
22
     unchanged.
23

24
           IT IS SO ORDERED.
25
     Dated: 3/23/2016                    /s/ John A. Mendez______________
26
                                         HONORABLE JOHN A. MENDEZ
27
                                         United States District Court Judge
28




                 [PROPOSED] ORDER CONTINUING HEARING ON MOTION FOR RECONSIDERATION - 1
